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UNITED sTATEs DISTRICT coURT F,,_ED B..Y.S/ w
Western District of Tennessee “` "'
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W..D OF TN, N=EMF"EHS
VS. Case Number 2:05CR20043- 01- Ml

UNITED STATES OF AMERICA
Plaintiff,

GINA GAIL SMITH
Defendant.

JUDGMENT AND COMMITMENT ORDER

ON SUPERVISED RELEASE VIOLATION
(For 0ffenses Committed On or After November 1, 1987)

The defendantr Gina Gail Smith, was represented by Kemper Durand, Esq.

lt appearing that the defendant, who was convicted on February 18, 2005, in the
above styled cause and was placed on Probation for a period of one (l) yearr has violated
the terms of Probation.

lt is hereby ORDERED and ADJUDGED that the Probation of the defendant be revoked
and that the defendant be committed to the oustody of the United States Bureau of Prisons
to be imprisoned for a term of TIME SERVED.

FURTHERMORE, the Court hereby imposes a term of Supervised Release of one (l) year
with the same previously imposed conditions of Probation. As well, the Court ordered
that the defendant abide by the following additional conditions:

l. The defendant shall continue to reside and continue treatment at Hope House
as long as permitted.

2. The defendant shall participate in an active drug and/or alcohol support group
at least three (3) times per week.

The defendant is allowed to remain released on present bond.

»OWM

JO PHIPPS MCCALLA
ITED STATES DISTRICT JUDGE

Signed this the L§ day of Juner 2005

Thie document entered on the docke€€heet$compliee

nefendanc'e ss Nc>.= XXX-XX-XXXX with Hule 55 3“d/Or32 b)FHC"P°"
Defendant's Date of Birth: 11/22/1957

U.S. Marshal NO.: 19764-076

Defendant's Mailinq Address: 1383 Knev, Memphis, TN 38107

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ISTRIC COURT - WESTERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 2:05-CR-20043 Was distributed by faX, mail, or direct printing on
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Kemper B. Durand

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

l\/lemphis7 TN 38103--552

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

